             Case 3:09-cr-00004-DHB-BKE Document 325 Filed 02/11/15 Page 1 of 1

 PROB35                Report and Order Terminating Probation/SupervisedRelease
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(Rev.5/01)                           Priorto OriginalExpiration
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                                     UNITED STATESDISTRICTCOURT                         I i PH
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                                 SOUTHERNDISTRICTOF GEORGIA                      .I-ER
                                      DUBLIN DIVISION



          I]NITED STATESOF AMERICA

                         v.                          I    Crim.No. 3:09CR00004-7

               BrittanyDeniseMackey                  J
      On lvlay 25,2012, the abovenamedwas placed on superuisedreleasefor a period offive years. Shehas
complied with the rules and regulations of supervisedreleaseand is no longer in need of supervision. It is
accordingly recommendedthat shebe dischargedfrom supervision.

                                                         Respectfullysubmitted,




                                                         U.S. ProbationOfficer


                                       ORDEROF'THE COURT

                                                                            from supervisionandthatthe
       Pursuantto the abovereport,it is orderedthatthe defendantis discharged
proceedings
         in thecaseUetzpiualea.

       Outa U"      / / b            ot February.
                                  da1,         2015.




                                                         DudleyH. Bo
                                                         UnitedStates
